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14                         UNITED STATES DISTRICT COURT
15                      SOUTHERN DISTRICT OF CALIFORNIA
16
17   Evolve Technologies, LLC, a Delaware Case No. 3:18-cv-00671-BEN-BGS
     limited-liability company,
18
                      Plaintiff,              PLAINTIFF/COUNTER
19   v.                                       DEFENDANT EVOLVE
                                              TECHNOLOGIES, LLC’S OPENING
20   Coil Winding Specialist, Inc., a         CLAIM CONSTRUCTION BRIEF
     California corporation,                  PURSUANT TO PATENT LOCAL
21                                            RULE 4.4(A)
                     Defendant.
22
23   Coil Winding Specialist, Inc., a
     California corporation,
24
              Counter Claimant,
25   v.
26   Evolve Technologies, LLC, a Delaware
     limited liability company,
27
              Counter Defendant.
28

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 1           This is the Opening Claim Construction Brief of Plaintiff/Counter Defendant
 2   Evolve Technologies, LLC pursuant to Patent Local Rule 4.4(a).
 3           I.    INTRODUCTION
 4           Evolve proposes constructions of three “means-plus-function” terms. See infra
 5   §§ IV.a-c. The parties agree the three terms are construed under § 112, ¶ 6, and
 6   generally agree about the recited functions. However, the parties disagree about the
 7   corresponding structure in the specification linked to the recited functions. Defendant
 8   Coil Winding Specialist, Inc. (“CWS”) seeks to include additional structure beyond
 9   what the specification discloses as necessary and links to the recited functions and
10   seeks to avoid a statutory requirement.
11           Evolve believes the remaining terms have plain and ordinary meanings and do
12   not require further construction. By contrast, CWS proposes constructions that
13   improperly import language from the specification, or replace an unambiguous claim
14   term with an ambiguous alternative word. Evolve thus proposes alternative
15   constructions for those terms if the Court determines any construction is appropriate.
16           II.   THE ASSERTED PATENTS
17           Evolve asserts five related patents against CWS: U.S. Patent Nos. 7,878,417
18   (“’417 Patent) (Ex. A), 8,434,693 (“’693 Patent) (Ex. B), 9,309,655 (“’655 Patent)
19   (Ex. C), 9,611,629 (“’629 Patent) (Ex. D), and 9,927,042 (“’042 Patent) (Ex. E).1 The
20   patents relate to a restrictive valve, addressing a problem that commonly occurs when
21   an individual turns on, for example, a shower to let the water warm up but leaves the
22   shower running unattended. This can lead to significant waste of water and heating
23   costs as warm water runs down the drain. See, e.g., ’417 Patent at 1:25-39. A valve
24   described in the patents pauses or restricts water flow when the water reaches an
25
26   1
         These patents share a common description and claim priority to U.S. Patent No.
27   7,681,804, which describes a valve assembly with the same or similar functionality
28   described herein.
                                         1                            18-cv-00671-BEN-BGS
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 1   appropriate temperature and then permits a user to reactivate the water flow. See, e.g.,
 2   id. at 1:58-66.
 3         By way of example, Figures 1A, 2A, 3A of the ’417 Patent depict structure
 4   providing this functionality. As shown in Figures 1A and 2A, annotated below, an
 5   increase in water temperature above a predetermined level causes actuator 822 to
 6   expand, moving piston 814 to the right in slide 808 to shut off fluid flow. See, e.g., id.
 7   at 3:66-4:5, 6:38-42.
 8
 9                                                          Release pin
10
11
12                                                                             Body rear
             Piston                                                 808
13                                                                  Slide
14
15
16
17    Actuator
18
19                                                                           812
20                                                                           Piston spring

21           Body                            806
             front                           Slide spring
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                                              2                        18-cv-00671-BEN-BGS
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13   To resume water flow, release pin 830 is withdrawn from the slide head 808B, which
14   allows slide 808 to move downstream (to the right in the figure below) due to the
15   upstream water pressure, as shown in annotated Figure 3A below. See, e.g., id. at
16   4:13-24.
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 1         Turning off the water flow allows slide spring 806 to move slide 808 upstream,
 2   permitting release pin 830 to move back to the position of Figure 1A. See, e.g., id. at
 3   4:27-36. As the actuator 822 cools and contracts, piston spring 812 moves piston 814
 4   back to the position of Figure 1A. See, e.g., id. at 4:8-9.
 5         The patents-in-suit generally claim valves or flow control systems. The various
 6   patents claim different details of valves and flow control systems described in the
 7   patents-in-suit to protect novel aspects of the embodiments described in the
 8   specification.
 9         III.   LEGAL STANDARD
10         “It is a bedrock principle of patent law that the claims of a patent define the
11   invention to which the patentee is entitled the right to exclude.” Phillips v. AWH
12   Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005) (en banc) (citation and internal
13   quotations marks omitted). Determining the “scope and meaning of the patent claims
14   asserted” is a task reserved for judges. Cybor Corp. v. FAS Techs., 138 F.3d 1448,
15   1454 (Fed. Cir. 1998) (en banc). “Claim construction is a matter of resolution of
16   disputed meanings and technical scope, to clarify and when necessary to explain what
17   the patentee covered by the claims, for use in the determination of infringement. It is
18   not an obligatory exercise in redundancy.” U.S. Surgical Corp. v. Ethicon, Inc., 103
19   F.3d 1554, 1568 (Fed. Cir. 1997).
20         “[T]he words of a claim ‘are generally given their ordinary and customary
21   meaning.’” Phillips, 415 F.3d at 1312 (citations omitted). Courts make this
22   determination from the perspective of a person of ordinary skill in the art at the time
23   the patent is filed. Chamberlain Grp., Inc. v. Lear Corp., 516 F.3d 1331, 1335 (Fed.
24   Cir. 2008). “Importantly, the person of ordinary skill in the art is deemed to read the
25   claim term not only in the context of the particular claim in which the disputed term
26   appears, but in the context of the entire patent, including the specification.” Phillips,
27   415 F.3d at 1313.
28         “In some cases, the ordinary meaning of claim language as understood by a
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 1   person of skill in the art may be readily apparent even to lay judges, and claim
 2   construction in such cases involves little more than the application of the widely
 3   accepted meaning of commonly understood words.” Id. at 1314. Evolve believes that
 4   is the situation here. However, if the meaning of a claim term as understood by
 5   persons of skill in the art is not apparent, the Court can “look[] to ‘those sources
 6   available to the public that show what a person of skill in the art would have
 7   understood disputed claim language to mean.’” Id. (quoting Innova/Pure Water, Inc.
 8   v. Safari Water Filtration Sys., Inc., 381 F.3d 1111, 1116 (Fed. Cir. 2004)). “Those
 9   sources include ‘the words of the claims themselves, the remainder of the
10   specification, the prosecution history, and extrinsic evidence concerning relevant
11   scientific principles, the meaning of technical terms, and the state of the art.’” Id.
12   (quoting Innova, 381 F.3d at 1116).
13         Sources in the intrinsic record are preferred. Chamberlain Grp., 516 F.3d at
14   1335. Often, “the claims themselves provide substantial guidance as to the meaning of
15   particular claim terms.” Phillips, 415 F.3d at 1314. But “claims ‘must be read in view
16   of the specification, of which they are a part.’” Id. at 1315 (quoting Markman v.
17   Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995)). In fact, the
18   specification is usually “dispositive,” as “it is the single best guide to the meaning of a
19   disputed term.” Id. (internal quotation marks omitted). Finally, the court should
20   consider the patent’s prosecution history, which is the record of proceedings before
21   the Patent and Trademark Office (“PTO”) and includes prior art cited during the
22   patent examination. Id. at 1317. Caution is warranted here, however. “[B]ecause the
23   prosecution history represents an ongoing negotiation between the PTO and the
24   applicant, rather than the final product of that negotiation, it often lacks the clarity of
25   the specification and thus is less useful for claim construction purposes.” Id.
26         If the intrinsic evidence resolves the ambiguity in the disputed claim terms, then
27   “it is improper to rely on extrinsic evidence.” Vitronics Corp. v. Conceptronic, Inc.,
28   90 F.3d 1576, 1583 (Fed. Cir. 1996). If ambiguities in the claim terms remain,
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 1   however, courts may consider extrinsic evidence. Id. at 1584. Extrinsic evidence
 2   includes expert testimony, inventor testimony, dictionaries, and scientific treatises.
 3   Phillips, 415 F.3d at 1317.
 4         “[C]laims are interpreted with an eye toward giving effect to all terms in the
 5   claim.” Bicon, Inc. v. Straumann Co., 441 F.3d 945, 950 (Fed. Cir. 2006) (citation
 6   omitted). “[W]hen an applicant uses different terms in a claim it is permissible to infer
 7   that he intended his choice of different terms to reflect a differentiation in the meaning
 8   of those terms.” Innova/Pure Water, 381 F.3d at 1120. A court “presume[s], unless
 9   otherwise compelled, that the same claim term in the same patent or related patents
10   carries the same construed meaning.” Omega Eng’g, Inc. v. Raytek Corp., 334 F.3d
11   1314, 1334 (Fed. Cir. 2003) (citation omitted).
12         “Even when the specification describes only a single embodiment, the claims of
13   the patent will not be read restrictively unless the patentee has demonstrated a clear
14   intention to limit the claim scope using ‘words or expressions of manifest exclusion or
15   restriction.’” Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 906 (Fed. Cir.
16   2004).
17         The parties agree that three terms are governed by 35 U.S.C. § 112, ¶ 6. “Claim
18   construction of a means-plus-function limitation includes two steps. First, the court
19   must determine the claimed function. Second, the court must identify the
20   corresponding structure in the written description of the patent that performs that
21   function.” Applied Med. Res. Corp. v. U.S. Surgical Corp., 448 F.3d 1324, 1332 (Fed.
22   Cir. 2006) (citations omitted). “[S]tructure disclosed in the specification is
23   ‘corresponding’ structure only if the specification or prosecution history clearly links
24   or associates that structure to the function recited in the claim.” B. Braun Med., Inc. v.
25   Abbott Labs., 124 F.3d 1419, 1424 (Fed. Cir. 1997). “Under § 112, ¶ 6, a court may
26   not import functional limitations that are not recited in the claim, or structural
27   limitations from the written description that are unnecessary to perform the claimed
28   function.” Wenger Mfg. v. Coating Machinery Sys., 239 F.3d 1225, 1233 (Fed. Cir.
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 1   2001) (citing Micro Chem., Inc. v. Great Plains Chem. Co., 194 F.3d 1250, 1258
 2   (Fed. Cir. 1999). Prefatory language preceding “means” can inform the function that
 3   the means must perform. See Baran v. Med Device Techs., Inc., 519 F. Supp. 2d 698,
 4   716–18 (N.D. Ohio 2007); see also Cannon Rubber Ltd. v. First Years Inc., 2004 U.S.
 5   Dist. LEXIS 18836, at *9–16 (N.D. Ill. Sep. 16, 2004) (“Even where, as here, clearly
 6   functional language follows the word ‘for,’ the prefatory claim language preceding the
 7   word ‘means’ serves to at least partially identify the function of the recited means.)
 8   vacated-in-part on other grounds by Cannon Rubber Ltd. v. First Years, Inc., 163 Fed.
 9   App’x 870 (Fed. Cir. 2005).
10         The corresponding structure must “[a]ccount[] for all structure in the
11   specification corresponding to the claimed function” Callicrate v. Wadsworth Mfg.,
12   427 F.3d 1361, 1369 (Fed. Cir. 2005). “[W]hen multiple embodiments in the
13   specification correspond to the claimed function, proper application of § 112, P6
14   generally reads the claim element to embrace each of those embodiments.” Versa
15   Corp. v. Ag-Bag Int’l Ltd., 392 F.3d 1325, 1329 (Fed. Cir. 2004) (quoting Micro
16   Chem., 194 F.3d at 1258.
17         IV.     ARGUMENT
18                 a. “hydraulic dampening means for dampening the movement of the
19                    piston” – ’417 Patent, claim 10
20              Evolve’s Construction                       CWS’s Construction
21   Recited Function: “hydraulically            Function: “dampening the movement of the
22   dampening the movement of the               piston”
23   piston.”                                    Structure: “O-ring 710 against the actuator
24   Structure in Specification Linked to        nose combined with the two small channels
25   Recited Function: Channel 814E or           814E and 814F provides a ‘piston pump’
26   814F in piston head 814A, with or           hydraulic action to help prevent by
27   without gland O-ring 710, and               dampening to potential hammering.”
28   equivalents thereof.
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 1         The parties disagree on (i) whether the function includes the word
 2   “hydraulically”, (ii) whether the O-ring 710 is necessary structure linked to the recited
 3   function, and (iii) whether the literal construction includes “equivalents thereof.”
 4         First, the claim term reads “hydraulic dampening means for dampening.” The
 5   “hydraulic” term preceding “means” informs the recited function. See Baran, 519 F.
 6   Supp. 2d at 716–18. Failing to include “hydraulically” in the defined function, as
 7   CWS proposes, would have the effect of eliminating “hydraulic” from the claim. This
 8   would not be a proper result since “claims are interpreted with an eye toward giving
 9   effect to all terms in the claim.” See Bicon, Inc., 441 F.3d at 950.
10         Second, the specification does not link the O-ring 710 as necessary structure to
11   the recited function. The specification states:
12             FIG. 5B illustrates an embodiment of piston 814 with two small
13         channels 814E and 814F in piston head 814A that will allow water to
14         trickle through the valve even when it is in an off position. This . . . acts
15         as a hydraulic dampener to prevent “hammering.”
16   ’417 Patent at 5:40-45. Hence, the specification clearly links the small channels 814E
17   and 814F as the structure for hydraulic dampening. This passage is the only instance
18   in the specification that specifically describes hydraulic dampening. Further, the
19   prosecution history of the ’417 Patent bolsters this passage. The patentee stated:
20             Claim 28 recites a valve having a flow control assembly including a
21         secondary channel configured to allow a trickle of water to flow . . . . The
22         claimed invention allows the trickle of water to help prevent cross-flow
23         on worn mixing valves and acts as a hydraulic dampener to prevent
24         “hammering”, as discussed in the Specification in at least paragraph
25         [0038] and shown in Figure 5B as channels 814E and 814F.
26   Ex. F at 130-131 (Amendment dated 9/3/2010 at 13-14) (emphasis added).
27         The specification describes the O-ring 710 as contributing more generally to
28   dampening, but does not indicate that the O-ring 710 is necessary for hydraulic
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 1   dampening. The specification describes the O-ring 710 as providing a “drag” that
 2   “will provide dampening.” ’417 Patent at 4:66-5:3. The specification further states,
 3   “[T]he effect of gland O-ring 710 against the actuator nose combined with the two
 4   small channels 814E and 814F provides a ‘piston pump’ hydraulic action to help
 5   prevent by dampening [sic] potential hammering.” Id. at 5:48-51. Hence, the O-ring
 6   710 may provide additional dampening by the “drag” that assists and complements,
 7   but is not necessary to, the hydraulic dampening of the channels 814E and 814F. The
 8   O-ring 710 is not necessary structure linked in the specification to the recited function,
 9   but may be present to assist the hydraulic dampening.
10         Third, the statute mandates that the construction includes both the
11   corresponding structure “and equivalents thereof.” See 35 U.S.C. § 112, ¶ 6.
12   Accordingly, the Court should include the statutory phrase in the construction of each
13   of the three limitations subject to construction under § 112, ¶ 6.
14                b. “means to set the override assembly in the second position” – ’693
15                   Patent, claim 1
16         Evolve’s Construction                         CWS’s Construction
17   Recited Function: “setting the override assembly in the second position.”
18   Structure in Specification Linked     Structure: Handle screw 836, handle 828, release
19   to Recited Function: Release pin      pin 830, pin cylinder cap 700, having cap
20   830, release pin spring 832, and      threaded area 700A, release pin housing 802B,
21   slide head 808B, and equivalents      body rear 802, cam pin 831, hole 830D in release
22   thereof.                              pin arm 830A, cam 706, release pin housing
23                                         802B, boss 706A, arm 830A, curved portion
24                                         706B of cam 706, release pin spring 832, slide
25                                         head 808B, and release pin land 830B.
26         The parties disagree on (i) the necessary structure linked to the agreed recited
27   function and (ii) whether the literal construction includes “equivalents thereof.”
28   Evolve here also relies on the statutory language for including “equivalents thereof” in
                                               9                          18-cv-00671-BEN-BGS
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 1   the literal construction of the corresponding structure.
 2         The specification links only the slide head 808B, release pin 830, and release
 3   pin spring 832 to the agreed recited function. The specification states:
 4         When slide head 808B abuts shoulder 820A, release pin 830 under the
 5         impetus of release pin spring 832 will move to the lockout position as
 6         illustrated in FIGS. 1A and 1B, thus automatically resetting the override
 7         to a pre-override position.
 8   ’693 Patent at 4:30-34. In the specification, the setting (e.g., resetting) of the override
 9   returns the override to be disengaged or locked out by the pre-override position of
10   Figure 1A, see, e.g., id. at 4:30-32, 3:60-64, after being engaged as described with
11   respect to Figures 3A and 3B, see id. at 4:23-25. In the claim, the “second position” of
12   the override assembly “enabl[es] the temperature sensor and piston assembly to
13   control the flow of water through the main body.” See id. at 7:55-58. The “pre-
14   override position” of Figure 1A is the “second position” of the claim in the described
15   embodiment. This “pre-override position” enables the temperature sensor and actuator
16   822 and piston 814 to control the flow of water through the body front 820 and body
17   rear 802. More particularly, in this “pre-override position,” the piston 814, which is
18   driven by the temperature sensor and actuator 822, can move within the slide 808 to
19   shut off fluid flow through slide ports 808E in the slide 808. See id. at 3:60-4:3.
20         As shown in the quoted passage of the specification, the slide head 808B,
21   release pin 830, and release pin spring 832 are the only structure specifically linked to
22   setting (or resetting) the override assembly in a position for enabling a temperature
23   sensor and piston assembly to control a flow of water like in the pre-override position
24   described in the specification.
25         Accordingly, the linked necessary structure in the specification is the slide head
26   808B, release pin 830, and release pin spring 832.
27                c. “means to automatically set the override assembly to the second
28                   position” – ’693 Patent, claim 3
                                              10                        18-cv-00671-BEN-BGS
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 1    Evolve’s Construction                           CWS’s Construction
 2   Recited Function: “automatically setting the override assembly to the second
 3   position.”
 4   Structure in Specification    Structure: Handle screw 836, handle 828, release pin 830,
 5   Linked to Recited             pin cylinder cap 700, having cap threaded area 700A,
 6   Function: Release pin         release pin housing 802B, body rear 802, cam pin 831,
 7   830, release pin spring       hole 830D in release pin arm 830A, cam 706, release pin
 8   832, slide head 808B, and housing 802B, boss 706A, arm 830A, curved portion
 9   slide spring 806, and         706B of cam 706, release pin spring 832, slide head
10   equivalents thereof.          808B, and release pin land 830B.
11         The parties disagree on (i) the effect of “automatically” in the recited function
12   and (ii) whether the literal construction includes “equivalents thereof.” Evolve here
13   also relies on the statutory language for the latter point.
14         Importantly, the “means to automatically set the override assembly to the
15   second position” limitation in claim 3 depends from and adds further structure to the
16   corresponding structure of the “means to set the override assembly” limitation. CWS,
17   however, proposes identical corresponding structures for both claim terms. CWS
18   seeks to render nugatory the additional functional and structural limitations added by
19   the dependent claim, contrary to the doctrine of claim differentiation. See, e.g., Amgen
20   Inc. v. Hoechst Marion Roussel, Inc., 314 F.3d 1313, 1326 (Fed. Cir. 2003) (“Our
21   court has made clear that when a patent claim ‘does not contain a certain limitation
22   and another claim does, that limitation cannot be read into the former claim in
23   determining either validity or infringement.’ . . . . There is a rebuttable presumption
24   that different claims are of different scope.”). That presumption is especially strong
25   when the limitation in dispute is the only meaningful difference between an
26   independent claim and a dependent claim, and one party is urging that the limitation in
27   the dependent claim should be read into the independent claim. See Ecolab Inc. v.
28   Paraclipse, Inc., 285 F.3d 1362, 1375 (Fed. Cir. 2002).
                                              11                      18-cv-00671-BEN-BGS
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 1           “Automatically” adds additional corresponding structure that must be given
 2   effect. In addition to the corresponding structure Evolve has identified above, the slide
 3   spring 806 is linked necessary structure for “automatically setting.” To be
 4   automatically set, the slide spring 806 moves the slide 808 upstream so that the release
 5   pin 830 moves to the lockout position as described above. See ’693 Patent at 4:25-34,
 6   3:47-49, 5:33-36. Accordingly, the slide spring 806 is additional structure linked to
 7   the “automatically setting” function.
 8                 d. “flow control assembly” / “flow control member”2 – ’417 Patent,
 9                    claims 1, 25, 26, 27; ’693 Patent, claim 1; ’655 Patent, claim 5; ’629
10                    Patent, claim 1; ’042 Patent, claim 1
11                      Evolve’s Construction                        CWS’s Construction
12   No construction needed. Plain and ordinary meaning.            A set consisting of a
13                                                                  piston that forms a seal
14   In the alternative, for “flow control assembly,” “parts that   with a sliding sleeve
15   are configured to collectively function to control fluid       when pushed by a wax
16   flow.”                                                         motor.
17
18   In the alternative, for “flow control member,” “a part
19   within the flow control assembly.”
20           “Flow control assembly” is found in the asserted claims of the ’417 Patent and
21   the ’693 Patent without “flow control member.” Both “flow control assembly” and
22   “flow control member” are used together in each asserted claim of the ’655, ’629, and
23   ’042 Patents.
24
25   2
         Evolve does not believe that grouping “flow control assembly” and “flow control
26
     member” for a single construction is appropriate, see Patent L.R. 4.2(a), since the
27   terms are different. However, CWS asserts that because CWS proposes the same
28   construction for the terms, the dispute involves a single term. See Ex. G at 134.
                                             12                       18-cv-00671-BEN-BGS
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 1         The terms “flow control assembly” and “flow control member” are clear, and
 2   no further construction is necessary.
 3         Beginning with “flow control assembly,” the claims of the ’417 and ’693
 4   Patents define various structural components included in the “flow control assembly.”
 5   Independent claim 1 of the ’417 Patent, for example, defines “flow control assembly”
 6   as including a temperature sensor, a piston, and an override assembly. See ’417 Patent
 7   at 7:52-53, 55-56. The dependent claims add additional components to the “flow
 8   control assembly,” and other independent claims include slightly different
 9   components. See id. at 7:64-65, 8:10-11, 8:23-26, 10:9-11, 10:39-42, 46-47, 55-56.
10   Claim 1 of the ’693 Patent is similarly organized. See ’693 Patent at 7:45-60.
11         In the ’655 Patent (claim 5), ’629 Patent (claim 1) and the ’042 Patent (claim 1),
12   the “flow control assembly” is recited as including a temperature sensor and a “flow
13   control member.” See ’655 Patent at 8:43, 46; ’629 Patent at 8:21, 24; ’042 Patent at
14   8:22, 25. CWS’s efforts to construe “flow control member” and “flow control
15   assembly” to have the same meaning when one (the member) is a component of the
16   other (assembly) conflict with basic rules of claim construction. See Innova/Pure
17   Water, Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d 1111, 1120 (Fed. Cir. 2004)
18   (“[W]hen an applicant uses different terms in a claim it is permissible to infer that he
19   intended his choice of different terms to reflect a differentiation in the meaning of
20   those terms.”).
21         Notably, moreover, none of the structure CWS seeks to include in the
22   construction of “flow control assembly” and “flow control member” is claimed as a
23   component of the “flow control assembly.” Rather, CWS improperly seeks to import
24   specific structure from the specification or engraft something into the construction not
25   found in the specification at all (i.e., “wax motor”). CWS seeks to construe the “flow
26   control assembly” and “flow control member” by how they purportedly interact with
27   unclaimed components rather than providing a construction for the meaning of “flow
28   control assembly” or “flow control member.” There is no legal basis supporting
                                             13                       18-cv-00671-BEN-BGS
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 1   CWS’s claim construction positions, and its approach confirms the lack of need for
 2   construction of either term.
 3         In all events, Evolve submits there is nothing ambiguous about “flow control
 4   assembly” or “flow control member.” The terms have meanings that are common,
 5   which are apparent to even a lay person. See, e.g., Phillips, 415 F.3d 1303 (“In some
 6   cases, the ordinary meaning of claim language as understood by a person of skill in
 7   the art may be readily apparent even to lay judges.”). Providing a further construction
 8   would only result in “an obligatory exercise in redundancy,” see U.S. Surgical Corp.,
 9   103 F.3d at 1568, that will not help, and may confuse, the jury.
10         If, arguendo, the Court believes some clarification is needed, Evolve proposes,
11   for “flow control assembly,” “parts that are configured to collectively function to
12   control fluid flow,” and for “flow control member,” “a part within the flow control
13   assembly.” The specification indicates that an assembly is multiple parts or
14   components: “The valve assembly 18 is comprised of the following components” and
15   cites a list of components. See ’417 Patent at 3:9-14; see also id. at 3:14-17. The
16   specification goes into great detail of how many parts, many of which are specifically
17   identified in various claims, are configured to control the flow of water, including
18   using the override. See, e.g., id. at 3:62-4:42. Although the various parts described in
19   the specification illustrate what can form a flow control assembly, Evolve was not
20   required to claim all of those components. See, e.g., Golight, Inc. v. Wal-Mart Stores,
21   Inc., 355 F.3d 1327, 1331 (Fed. Cir. 2004) (“[P]atentees [are] not required to include
22   within each of their claims all of [the] advantages or features described as significant
23   or important in the written description.”); Ventana Med. Sys. v. BioGenex Labs., Inc.,
24   473 F.3d 1173, 1181 (Fed. Cir. 2006) (“When the claim addresses only some of the
25   features disclosed in the specification, it is improper to limit the claim to other,
26   unclaimed features”). The specification is clear that the invention is not limited to
27   those parts. See, e.g., ’417 Patent at 7:32-40. If the Court determines any construction
28   is needed other than plain and ordinary meaning, the Court should construe “flow
                                            14                          18-cv-00671-BEN-BGS
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 1   control assembly” to be “parts that are configured to collectively function to control
 2   fluid flow.”
 3         Turning to “flow control member” the flow control member is one of two
 4   general components of “the flow control assembly.” The flow control member is
 5   configured to perform certain functions, and Evolve was within its right to define the
 6   flow control member in this way. See In re Swinehart, 439 F.2d 210, 212 (C.C.P.A.
 7   1971) (“In our view, there is nothing intrinsically wrong with the use of such a
 8   technique in drafting patent claims. Indeed we have even recognized in the past the
 9   practical necessity for the use of functional language.”). Evolve submits that, to the
10   extent a construction is necessary, the Court should construe “flow control member”
11   to be “a part within the flow control assembly.”
12                  e. “temperature sensor” – ’417 Patent, claims 1, 22, 25, 26, 27; ’693
13                     Patent, claim 1; ’655 Patent, claim 5; ’629 Patent, claim 1; ’042
14                     Patent, claim 1
15                   Evolve’s Construction                       CWS’s Construction
16   No construction needed. Plain and ordinary            Any mechanism that has a
17   meaning.                                              change in state with a change in
18                                                         temperature, such as a wax
19   In the alternative, “structure configured to sense    motor as described in the patent
20   temperature and respond to at least some              specification or a temperature
21   temperature changes.”                                 sensitive alloy.
22         “Temperature sensor” is found in each asserted independent claim of the
23   patents. The term is clear, and no further construction is necessary. The patents do not
24   define the term to have any unusual or different meaning. This term has a common
25   meaning apparent even to a lay person, and construing this term would only be an
26   obligatory exercise in redundancy.
27         Here also, CWS improperly seeks to incorporate structure and functionality into
28   an unambiguous term. Moreover, CWS’s construction seeks to incorporate into the
                                             15                       18-cv-00671-BEN-BGS
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 1   construction as an example “a wax motor as described in the patent specification”
 2   when there is no mention of a wax motor in the specification. There is no reason to
 3   provide even accurate examples for construction of this simple term. Additionally,
 4   there is no basis for requiring a “change in state.”
 5         If, arguendo, the Court believes some clarification is needed, Evolve proposes
 6   “structure configured to sense temperature and respond to at least some temperature
 7   changes.” The specification describes a “temperature sensor and actuator 822.” See
 8   ’417 Patent at 3:28-29. The specification states:
 9         Actuator 822 is, in one embodiment, a wax actuator adapted to respond
10         by expanding in a range of approximately 90° F. to 110° F., . . . . Element
11         822 both senses temperature changes and responds, . . . .
12   Id. at 6:33-55. The specification provides additional examples of sensors, and the
13   invention is not limited to any particular sensor. See, e.g., id. at 7:32-40.
14         The specification states that the temperature sensor (e.g., temperature sensor
15   and actuator 822) senses temperature. The specification also describes a response to
16   temperature changes (e.g., “a wax actuator adapted to respond by expanding”). The
17   specification further indicates that the temperature sensor does not necessarily respond
18   to all temperature changes but that the response may be to just some temperature
19   changes (e.g., “in a range of approximately 90° F. to 110° F.”). If the Court
20   determines any construction is needed other than plain and ordinary meaning, the
21   Court should construe “temperature sensor” to be “structure configured to sense
22   temperature and respond to at least some temperature changes.”
23                  f. “operative engagement” – ’417 Patent, claim 1; ’693 Patent, claim 1
24                       Evolve’s Construction                           CWS’s Construction
25   No construction needed. Plain and ordinary meaning.                Having an effect on
26                                                                      and interlocked to.
27   In the alternative, “directly or indirectly connected to or
28   contacting.”
                                              16                         18-cv-00671-BEN-BGS
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 1         “Operative engagement” is used in independent claims 1 of the ’417 and ’693
 2   Patents.
 3         As with previous terms, the term is clear, and no further construction is
 4   necessary. The claims recite, “a flow control assembly in operative engagement with
 5   the main body.” ’417 Patent at 7:51-52; ’693 Patent at 7:45-46. The claims further
 6   outline this operative engagement between the flow control assembly and the main
 7   body. The flow control assembly includes a temperature sensor and piston that are
 8   “adapted to substantially block and unblock the flow of water in the channel [through
 9   the main body] responsive to the temperature sensor” and includes an override
10   assembly moveable between positions to “enable the temperature sensor and piston to
11   control the flow of water through the main body” and to “override the temperature
12   sensor and piston and allow water to flow.” See ’417 Patent at 7:52-63; see also ’693
13   Patent at 7:46-61. The patents do not define the term to have any unusual or different
14   meaning.
15         CWS’s proposal seeks to replace the claim term with ambiguous words (e.g.,
16   “interlocked”), which, instead of resolving the meaning of “operative engagement,”
17   will likely create a further dispute over the meaning of the term.
18         Evolve submits that “operative engagement” is not ambiguous. This term has a
19   common meaning apparent even to a lay person, and construing this term would only
20   be an obligatory exercise in redundancy that will not help, and may confuse, the jury.
21         If, arguendo, the Court believes some clarification is needed, Evolve proposes
22   “directly or indirectly connected to or contacting.” Variations of “operative” and
23   “engagement” are used throughout the claims and specification to illustrate the
24   breadth of the term to include directly or indirectly connected to or contacting. In
25   some instances, “engaged” is used to indicate contact. Compare ’417 Patent at 8:23-
26   24, 9:29-30 (a slide spring is “engaging the slide” and is “engaged with the body”)
27   with id. at Figs. 1A, 2A, 3A (the slide spring 806 contacts the body rear 802 and the
28   slide head 808B of the slide 808); compare id. at. 9:34 (a piston spring is “engaged
                                             17                           18-cv-00671-BEN-BGS
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 1   with the body”) with id. at 3:42-45 (the piston spring 812 “abut[s] . . . at a second end
 2   spring retainer 802D [of the main body rear 802]”). In some instances, “engaged” is
 3   used to indicate direct connection. Compare id. at 9:28 (a temperature sensor is
 4   “engaged with the body”) with id. at 3:53-55 (temperature sensor and actuator 822 has
 5   “threaded walls 822A for threaded engagement with threaded walls 820C of body
 6   front 820.”). In another instance, the specification describes “direct mechanical
 7   engagement,” see id. at 4:40, meaning “engagement” can be something other than
 8   “direct mechanical,” namely an indirect connection. Accordingly, if the Court
 9   determines any construction is needed other than plain and ordinary meaning, the
10   Court should construe “operative engagement” to be “directly or indirectly connected
11   to or contacting.”
12                 g. “override assembly” / “override member”3 – ’417 Patent, claims 1,
13                    9; ’693 Patent, claims 1, 9; ’655 Patent, claim 6
14                        Evolve’s Construction                       CWS’s Construction
15   No construction needed. Plain and ordinary meaning.             An assembly that
16                                                                   moves a release pin
17   In the alternative, for “override assembly,” “parts that are    holding the flow-
18   configured to collectively function to override.”               control assembly in
19                                                                   place and consists of
20   In the alternative, for “override member,” “a part that is      multiple parts.
21   configured to function, alone or in combination, to
22   override.”
23           “Override assembly” is found in the claims of the ’417 and ’693 Patents, and
24   “override member” is used in a single claim of the ’655 Patent. The terms “override
25   assembly” and “override member” are clear, and no further construction is necessary.
26
     3
27       Evolve objects to CWS’s efforts to collapse “override assembly” and “override

28   member” into a single construction. See Patent L.R. 4.2(a); see also supra n.2.
                                             18                       18-cv-00671-BEN-BGS
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 1         Beginning with “override assembly,” respective independent claims 1 of the
 2   ’417 and ’693 Patents define the override assembly as being moveable between first
 3   and second positions, where one of the positions allows a temperature sensor and
 4   piston assembly to control a flow of water, and the other of the positions overrides or
 5   bypasses the temperature sensor and piston assembly to allow water to flow. See ’693
 6   Patent at 7:54-59; see also ’417 Patent at 7:56-61. Dependent claims further claim
 7   various structural components that may be included in the “override assembly.” The
 8   override assembly can include a handle, a slide, and a slide spring. See, e.g., ’417
 9   Patent at 7:64-67, 8:10-11, 8:23-24. Further, the override assembly can include the
10   structure of the “means to set” and “means to automatically set” the override assembly
11   as detailed previously. See ’693 Patent at 7:60-61, 65-67.
12         The “override member” in claim 6 of the ’655 Patent is configured to allow
13   water to flow regardless of the temperature of the water. See ’655 Patent at 8:60-63.
14   Independent claim 5 of the ’655 Patent (from which claim 6 depends) claims that a
15   flow control member is configured to substantially block a flow of water responsive to
16   a temperature sensor. See id. at 8:46-48.
17         Notably, moreover, none of the structure or functionality CWS seeks to include
18   in the construction of “override assembly” and “override member” is explicitly
19   claimed for either the “override assembly” or the “override member.” Rather, CWS
20   improperly seeks to import specific structure (i.e., “release pin”) and functionality
21   (i.e., “moves . . . holding . . . in place”) from the specification. CWS seeks to construe
22   these two terms by how they purportedly function with unclaimed components rather
23   than providing a construction for the meaning of “override assembly” or “override
24   member.” There is no legal basis supporting CWS’s claim construction positions.
25         In all events, Evolve submits there is nothing ambiguous about “override
26   assembly” or “override member.” The terms have meanings that are common, which
27   are apparent to even a lay person. See, e.g., Phillips, 415 F.3d 1303. Providing a
28   further construction would only result in “an obligatory exercise in redundancy,” see
                                             19                        18-cv-00671-BEN-BGS
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 1   U.S. Surgical Corp., 103 F.3d at 1568, that will not help, and may confuse, the jury.
 2         If, arguendo, the Court believes some clarification is needed, Evolve proposes,
 3   for “override assembly,” “parts that are configured to collectively function to
 4   override.” As detailed above with respect to “flow control assembly,” the specification
 5   indicates that an assembly is multiple parts or components. See supra IV.d; see also
 6   ’417 Patent at 3:9-17. The specification goes into great detail of how many parts,
 7   many of which are specifically identified in various claims, are configured to override.
 8   See, e.g., id. at 4:13-24, 5:4-39. Although the various parts described in the
 9   specification illustrate what can form an override assembly, Evolve was not required
10   to claim all of those components. See, e.g., Golight, Inc., 355 F.3d at 1331; Ventana
11   Med. Sys., 473 F.3d at 1181. The specification is clear that the invention is not limited
12   to those parts. See, e.g., ’417 Patent at 7:32-40. Additionally, this construction of
13   “override assembly” is consistent with the construction Evolve has proposed for
14   “control flow assembly.” See, e.g., Omega Eng’g, Inc. v. Raytek Corp., 334 F.3d
15   1314, 1334 (Fed. Cir. 2003) (“A court “presume[s], unless otherwise compelled, that
16   the same claim term in the same patent or related patents carries the same construed
17   meaning.”). If the Court determines any construction is needed other than plain and
18   ordinary meaning, the Court should construe “override assembly” to be “parts that are
19   configured to collectively function to override.”
20         Turning to “override member,” Evolve’s proposal for “override member” is
21   along the same lines as the construction for “override assembly,” except to effectuate
22   a difference between “member” and “assembly,” which is “a part” versus “parts.” See,
23   e.g., Omega Eng’g, 334 F.3d at 1334 (“A court “presume[s], unless otherwise
24   compelled, that the same claim term in the same patent or related patents carries the
25   same construed meaning.”); Bicon, Inc. v. Straumann Co., 441 F.3d 945, 950 (Fed.
26   Cir. 2006) (“[C]laims are interpreted with an eye toward giving effect to all terms in
27   the claim.”). This difference was address previously in the context of “flow control
28   member.” See supra § IV.d. Evolve submits that, to the extent a construction is
                                             20                       18-cv-00671-BEN-BGS
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 1   necessary, the Court should construe “override member” to be “a part that is
 2   configured to function, alone or in combination, to override.”
 3                h. “slide control assembly” – ’417 Patent, claim 22
 4                     Evolve’s Construction                          CWS’s Construction
 5   No construction needed. Plain and ordinary meaning.           An assembly that moves
 6                                                                 the sliding sleeve into
 7   In the alternative, “parts that are configured to             place and holds it.
 8   collectively function to control a slide.”
 9         “Slide control assembly” assembly is only used in claim 22 of the ’417 Patent.
10   The term “slide control assembly” is clear, and no further construction is necessary.
11         The claim recites, a “slide” and a “slide control assembly capable of unlockably
12   setting the slide in the second position.” ’417 Patent at 9:39-40. “[W]hen the slide is in
13   the second position,” a piston engaging a temperature sensor is “configured to respond
14   to the temperature sensor so as to block the flow of water through the ports of the
15   slide.” Id. at 9:33-38.
16         Reviewing CWS’s proposed construction, there does not appear to be any
17   dispute over any ambiguity or scope of the terms. CWS does not appear to take issue
18   with “assembly,” since CWS uses “assembly” in it construction. CWS does not appear
19   to construe “control,” but appears to incorporate further functionality (i.e., “moves . . .
20   into place and holds”) into the concept of “control” beyond its plain and ordinary
21   meaning. Additionally, CWS appears to backdoor an ambiguous construction of
22   “slide” through construing “slide control assembly,” instead of directly construing
23   “slide” as its own standalone term, which is recited in the claim.
24         Rather, Evolve submits there is nothing ambiguous about “slide control
25   assembly.” The term has a meaning that is common, which is apparent to even a lay
26   person. See, e.g., Phillips, 415 F.3d 1303. Providing a further construction would only
27   result in “an obligatory exercise in redundancy,” see U.S. Surgical Corp., 103 F.3d at
28   1568, that will not help, and may confuse, the jury.
                                              21                        18-cv-00671-BEN-BGS
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 1         If, arguendo, the Court believes some clarification is needed, Evolve proposes
 2   “parts that are configured to collectively function to control a slide.” As detailed
 3   above with respect to “flow control assembly,” the specification indicates that an
 4   assembly is multiple parts or components. See supra IV.d; see also ’417 Patent at 3:9-
 5   17. The specification goes into great detail of how many parts, many of which are
 6   specifically identified in various claims, are configured to control a slide. See, e.g., id.
 7   at ’417 Patent at 4:13-42, 5:4-39. Although the various parts described in the
 8   specification illustrate what can form a slide control assembly, Evolve was not
 9   required to claim all of those components. See, e.g., Golight, Inc., 355 F.3d at 1331;
10   Ventana Med. Sys., 473 F.3d at 1181. The specification is clear that the invention is
11   not limited to those parts. See, e.g., ’417 Patent at 7:32-40. Additionally, this
12   construction of “slide control assembly” is consistent with the construction Evolve has
13   proposed for “control flow assembly” and “override assembly.” See, e.g., Omega
14   Eng’g, Inc. v. Raytek Corp., 334 F.3d 1314, 1334 (Fed. Cir. 2003) (“A court
15   “presume[s], unless otherwise compelled, that the same claim term in the same patent
16   or related patents carries the same construed meaning.”). If the Court determines any
17   construction is needed other than plain and ordinary meaning, the Court should
18   construe “slide control assembly” to be “parts that are configured to collectively
19   function to control a slide.”
20
           V.     CONCLUSION
21
           For the above reasons, to the extent constructions of the above terms are
22
     necessary, Evolve submits that the Court should adopt Evolve’s proposed
23
     constructions for terms.
24
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                                              22                         18-cv-00671-BEN-BGS
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 1   RESPECTFULLY SUBMITTED this 30th day of November, 2018.
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                                       23                       18-cv-00671-BEN-BGS
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 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that on November 30, 2018, I caused the attached document to

 3   be electronically transmitted to the Clerk’s Office using the CM/ECF System for

 4   filing and service to the following CM/ECF registrants:

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